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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                              :          CIVIL ACTION
JUSTIN FREID
                                              :
     v.
                                              :
                                                         No. 11-257
NCO FINANCIAL SYSTEMS, INC.                   :

                                              :


                   CANCELLATION OF ARBITRATION HEARING

             Please take note that the above-captioned civil action case currently sheduled for

ARBITRATION at 9:30 am on Tuesday, August 23, 2011, has been CANCELLED.

                                                         Michael E. Kunz
                                                         Clerk of Court



                                                         By: /s/Janet Vecchione
                                                         Janet Vecchione
                                                         Deputy Clerk
                                                         Phone:267-299-7074

Date:May 4, 2011

Copies:      Courtroom Deputy to Judge Michael M. Baylson
             Docket Clerk - Case File

             Counsel:              C. Kimmel, Esq.
                                   R. Enders, Esq.




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